        Case 3:16-cr-01998-CAB                Document 78            Filed 01/27/17            PageID.234          Page 1 of 4

.AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COURT                                                 FILED
                                           SOUTHERN DISTRICT OF CALIFORNIA                                       17 JAN 27 AH II: 57   I
               UNITED STATES OF AMERICA                              JUDGMENT INA CRIMIJ'!~I$~i'{5l~l.cT-~,~~!H ___ L
                                                                     (For Offenses Committed On or After Novemtier f,19$'1f ALlf l>iWJA I
                                  ~.                                                                                                   I
               RUBEN GUILFREDO LOPEZ (2)                                Case Number:          16CR1998-dm               ~ &t~TY
                                                                     MICHAEL J. CURLS
                                                                     Defendant's Attorney
 REGISTRATION NO.                 58267298
 D-
 THE DEFENDANT:
 1Z1 pleaded guilty to count(s)         COUNT TWO (2) OF THE 13-COUNT INDICTMENT

 D   was found guilty on count(s)
     after a plea of not guiltv.
 Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Count
 Title & Section                       Nature of Offense                                                               Number(s)
 8USC                                  TRANSPORTATION OF CERTAIN ALIENS AND AIDING                                        2
 13 24(a)( I )(A)(ii),(v )(II)         AND ABETTING
 and (a)(l)(B)(i)




     The defendant is sentenced as provided in pages 2 through                 4             of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count( s)
 1ZJ Count(s)      I, 3-13 OF THE INDICTMENT                   are         dismissed on the motion of the United States.

       Assessment: $100.00- Waived
 IZl


 IZl No fine                D Forfeiture pursuant to order filed                                       , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.




                                                                     HON.                   ANN BENCIVENGO
                                                                     UNITED STATES DISTRICT JUDGE


                                                                                                                     16CR1998-CAB
      Case 3:16-cr-01998-CAB               Document 78        Filed 01/27/17       PageID.235        Page 2 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 RUBEN GUILFREDO LOPEZ (2)                                                Judgment - Page 2 of 4
CASE NUMBER:               !6CRl998-CAB

                                                   IMPRISONMENT
· 'fhe-defendant-is-hereby-committed-to-the-custody-of"the-United-States-Bureau-of-Prisonsto ·be imprisoned-for a term of:
  TIME SERVED (173 DAYS).




 D      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D      The court makes the following recommendations to the Bureau of Prisons:




 D      The defendant is remanded to the custody of the United States Marshal.

 D      The defendant shall surrender to the United States Marshal for this district:
        D    at _ _ _ _ _ _ _ A.M.
                                                               on -------------------------------------
        D as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
        Prisons:
        D on or before
        D    as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                                                          to -----------------------------
 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                      By                     DEPUTY UNITED STATES MARSHAL



                                                                                                         16CR1998-CAB
             Case 3:16-cr-01998-CAB                   Document 78             Filed 01/27/17             PageID.236            Page 3 of 4
    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                   RUBEN GUILFREDO LOPEZ (2)                                                                    Judgment - Page 3 of 4
    CASE NUMBER:                 16CR1998-CAB

                                                         SUPERVISED RELEASE
Upon-release-from-imprisonment, -the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisomnent and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a rpanner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                   16CR1998-CAB
       Case 3:16-cr-01998-CAB          Document 78        Filed 01/27/17      PageID.237       Page 4 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:              RUBEN GUILFREDO LOPEZ (2)                                              Judgment - Page 4 of 4
CASE NUMBER:            16CR1998-CAB

                                 SPECIAL CONDITIONS OF SUPERVISION

     1. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
        illegally and report to the probation officer within 24 hours of any reentry into the United States;
        supervision waived upon deportation, exclusion, or voluntary departure.




II




                                                                                                  16CR1998-CAB
